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IN THE UNITED STATES DISTRICT COURT CHASLOTTE, MAG
FOR THE WESTERN DISTRICT OF NORTH CAROLINA anit: SO
(ASHEVILLE DIVISION) Q) UL 25 ANTI: of
SODEXHO MARRIOTT ) ay W.DIST OF NCL,
MANAGEMENT, INC., ) ap C
)
Plaintiff, ) Civil Action No. 1:01CV18-C
)
VS. )
)
SARA LEE CORPORATION and BALI )
COMPANY, )
)
Defendants. )

 

STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, the parties to the
above-styled action, through the undersigned counsel, hereby stipulate and agree that all claims
in this action are dismissed with prejudice. Each party shall bear its own costs, attorney’s fees

and expenses of litigation.

So stipulated, this 27 day of July, 2001. MA ff
“Mave, Vit 2- Af «

 

 

Peter Crane Anderson Daniel R. Taylor, Jr

NC State Bar No. 18661 NC State Bar No. 7358

Mark Vasco Richard S. Gottlieb

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